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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     November 06, 2019
                                IN THE UNITED STATES DISTRICT COURT                   David J. Bradley, Clerk
                                FOR THE SOUTHERN .)!STRICT OF TEXAS
                                         HOUSTON DIVISION

DAVID L. GLASSEL                               §
  Plaintiff                                    §
                                               §
vs.                                            §       C.A. NO. 4:17-CV-553
                                               §
OCWEN LOAN SERVICING, LLC                      §
  Defendant                                    §

                                         FINAL JUDGMENT

            On this day, came to be heard Intervener-Plaintiff/Defendant, Deutsche Bank National

Trust Company, as Trustee in Trust for Registered Holders of Long Beach Mortgage Loan Trust

2006-7, Asset-Backed Certificates, Series 2006-Ts ("Trustee") Second Motion for Entry of Final

Judgment (the "Motion"). The Court, having considered the Motion, and the response, if any, is

of the opinion that the Motion should be, in all th[ngs, GRANTED.

            It is therefore ORDERED AND DECREED that all of Plaintiff David L. Glassel's

("Giassel'') claims against Trustee are dismissed with prejudice. It is further

            ORDERED AND DECREED that Trustee is hereby awarded and this Judgment shall

constitute an Order Authorizing Foreclosure, authorizing Trustee to foreclose on the real property

collateral made the basis of the present action. It is further

            ORDERED AND DECREED and the Court finds that Glassel obtained a loan from lender

Long Beach Mortgage Company ("Long Beach"), which is evidenced by a Texas Home Equity

Note dated June 9, 2006 executed by Glassel and payable to the order of Long Beach and its assigns

in the original principal amount of $204,000.00 (the "Note") and which is secured by a Texas

Home Equity Security Instrument executed by Glassel, as Grantor, dated June 9, 2006 and

recorded in the real property records of Montg•)mery County, Texas as Instrument No. 2006-

073760 (the "Deed of Trust"), pursuant to which. Glassel granted for the benefit of Long Beach


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and its successors and assigns, a lien against cert:lin real property located at 2119 Old Ox Road,

Spring, Texas 77386 which is more particularly d~~scribed in the Deed of Trust as:

                       LOT SIXTY-FIVE (65), BLOCK THREE (3), SECTION ONE (1),
                       SPRING     FOREST   SUBDIVISION, LOCATED     IN  THE
                       MONTGOMERY COUNTY SClfiOOL LAND SURVEY, ABSTRACT
                       NO. 351, ACCORDING TO THE MAP OR RECORD IN VOLUME 7,
                       PAGE 379, MAP RECORDS OF MONTGOMERY COUNTY,
                       TEXAS.

and which real property together with the impnvements thereon is referred to herein as (the

"Property"). It is further

             ORDERED AND DECREED and the Court finds that the Note and the lien against the

Property evidenced by the Deed of Trust were tnnsferred and assigned to Trustee and that after

the requisite notice of default was provided, the Note was accelerated on November 30, 2015 and

all outstanding principal and accrued but unpaid interest was declared to be immediately due and

payable, and that Glassel has failed to pay those amounts. It is further

             ORDERED AND DECREED and the Court finds that after allowing all just and lawful

offsets, payments, and credits, there remains due md owing under the Note as of March 29, 2018,

the total amount owed is or was $326,610.65 consisting of an outstanding principal balance of

$191,429.65, accrued but unpaid interest in the amount of$87,888.32 through March 29,2018,

escrow advances totaling $43,178.16, loan levd advances totaling $4,076.00 and interest on

advances totaling $38.52, that all foregoing amounts together with any interest accruing on the

unpaid principal balance from and after March 21, 2018 at a per diem or daily rate of$40.92 per

day until the balance due under the subject loan i.> paid. It is further

             ORDERED AND DECREED that the sums owed as described in the above paragraph are

secured by the lien against the Property evidenced by the Deed of Trust, that Trustee is the current


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"mortgagee" as the term is defined in the Texas Property Code §51.000 1(4), and that Trustee is

entitled to foreclose on the Property through this Judgment.

           It is further ORDERED AND DECREED that, Trustee and its assigns are authorized to

conduct a non-judicial foreclosure sale of the Property pursuant to the terms and conditions ofthe

Deed of Trust and in accordance with TEX. PROP CODE §51.002.

           It is further ORDERED AND DECREED and the Court finds that Melinda Poole filed an

abstract of judgment against Glasscl on March 9,. 2010 as document number 2010018672 in the

Oftlcial Public Records of Montgomery County, Texas and that Trustee's lien is superior, prior

and senior to that of Melinda Poole.

           It is further ORDERED AND DECREED ;md the Court finds that Mustang Power Systems

filed an abstract of judgment against Glassel on November 4, 2011 as document number

2011098542 in the Official Public Records ofMcntgomery County, Texas and that Trustee's lien

is superior, prior and senior to that of Mustang Power Systems.

           It is further ORDERED AND DECREED and the Court finds that the IRS recorded a

Notice of Federal Tax Lien on November 7, 2013 in the Official Public Records ofMontgomery

County, Texas and that Trustee's lien is superiot, prior and senior to that of the IRS and United

States of America, Department of the Treasury.

           It is further ORDERED AND DECREED that any relief not specifically granted in this

Judgment is DENIED and any parties not otherwlse disposed of are DISMISSED.

                                                               NOV 0 5 2019
           SIGNED AND ENTERED on this _ _ _ day f - - = - - - - - - ' 2019.




                                             U.S DIS




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